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                                         CHS REPORTING DOCUMENT


                                                     HEADER

Source ID:
Date:                             11/09/2018
Case Agent Name:                  CEDRONE, KAITLYN
Field Office/Division:            Boston
Squad:                            C 10

                                               SOURCE REPORTING
Date of Contact:                   09/27/2018
List all present including yourself (do not include the CHS):
SA Laura Smith
SA Katie Cedrone
SA Elizabeth Keating
AUSA Eric Rosen
AUSA Justin O'Connell
FoA Nicholas Savona
Don Heller, CHS' attorney
Type of Contact:                   In Person

   Country:                       UNITED STATES
   City:                          Sacramento
   State:                         California

Date of Report:                   10/10/2018


Substantive Case File Number



Check here if additional reporting is in Echo
No
Source Reporting:

CHS was interviewed at the United States Attorney's Office in Sacramento,California. Present during the interview
were FBI Special Agents Laura Smith and Kaitlyn Cedrone, IRS Special Agent Elizabeth Keating, FBI Forensic
Accountant Nicholas Savona and Assistant United States Attorneys Eric Rosen and Justin O'Connell. Also present
during the interview was CHS's attorney, DON HELLER. After being advised of the identity of the interviewing
Agents and the nature of the interview, CHS provided the following information:




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At the beginning, HEINEL was not personally taking her share of the money. In CHS's mind he/she was holding
$400,000 for HEINEL for her share for getting students into USC. HEINEL knew that she was owed money from
CHS because they had a conversation about it. In the late fall or spring 2017, CHS had a conversation with HEINEL
about her money. HEINEL wanted to take $100,000 to $200,000 out all at once but CHS told her it was not smart
to do so. CHS offered HEINEL a consulting job at Counting Stars. HEINEL did not perform any consulting services
but received $20,000 a month. Last year, HEINEL was worried that she would lose her job because a new athletic
director was hired.




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                                   CHS REPORTING DOCUMENT




Synopsis:
Proffer Day 2 - 09/22/2018

                                         SIGNATURE

              Submitted By
    First Level Approved By




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